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                                               2:20-mj-30163
                                               Judge: Unassigned,
                                               Filed: 04-24-2020




   XXXXXXXX Bay City, Michigan
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       APPLICATION IN SUPPORT OF A CRIMINAL COMPLAINT

      This is an application for a criminal complaint and summons pursuant to

Rule 4(a) of the Federal Rules of Criminal Procedure charging defendant

CHARLES MOK with the offense of violating 18 U.S.C. § 1347, health care fraud,

and 18 U.S.C . § 1349, health care fraud conspiracy.

            INTRODUCTION AND AGENT BACKGROUND

      1.     I am a Special Agent employed by the United States Department of

Health and Human Services (“HHS”), Office of Inspector General (“OIG”), Office

of Investigations. I have been so employed since July 2010 and am currently

assigned to the Detroit Field Office of HHS-OIG. I am an investigative or law

enforcement officer of the United States within the meaning of 18 U.S.C. §

2510(7), in that I am empowered by law to conduct investigations and to make

arrests for federal felony offenses.

      2.     Since becoming a Special Agent with HHS-OIG, my duties and

responsibilities have included conducting investigations, audits, and inspections in

connection with the administration and enforcement of laws, regulations, orders,

contracts, and programs in which HHS is, or may be, a party of interest. I also

perform other duties on behalf of the Secretary of HHS. My chief responsibility is

the investigation of fraud involving Federal Health Care Programs. As a Special

Agent with HHS-OIG, I have received basic criminal investigator training as well
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as specialized training in the investigation of fraud and financial crimes.

Previously, I was employed as a Special Agent with the Ohio Attorney General’s

Office, Medicaid Fraud Control Unit for approximately two years.

      3.     Over approximately the last twelve years, my primary responsibility

has been the investigation of criminal fraud against the federally-funded health

care programs commonly known as Medicare and Medicaid. These investigations

have included individuals, organizations, and businesses that have violated federal

laws, including, but not limited to, Title 18, United States Code, Section 1347

(Health Care Fraud), Title 18, United States Code, Section 287 (False, Fictitious,

or Fraudulent Claims), Title 18, United States Code, Section 1349 (Conspiracy to

Commit Health Care Fraud). In connection with investigating these offenses, I

have participated in the execution of search warrants for documents and other

evidence in cases involving violations of these offenses.

      4.     I have knowledge of the facts set forth in this affidavit as a result of

my participation in the investigation, as well as information provided to me by

other law enforcement agencies, including the Federal Bureau of Investigation

(“FBI”). Information pertinent to this investigation was also provided

CoventBridge Group (formerly NCI AdvanceMed), the current unified program

integrity contractor in Michigan for HHS responsible for performing investigations



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and audits designed to protect the Medicare program (“Medicare”) from fraud,

waste, and abuse. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.




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                       THE MEDICARE PROGRAM

            1.     Generally

      5.    The Medicare Program (“Medicare”) is a federally funded health care

program providing benefits to persons who are over the age of sixty-five or

disabled. Medicare is administered by the Centers for Medicare and Medicaid

Services (“CMS”), a federal agency within the HHS. Individuals who receive

Medicare benefits are referred to as Medicare “beneficiaries.”

      6.    Medicare is a “health care benefit program,” as defined by Title 18,

United States Code, Section 24(b).

      7.    Medicare has four parts: hospital insurance (Part A), medical

insurance (Part B), Medicare Advantage (Part C), and prescription drug benefits

(Part D).

      8.    This investigation involves an outpatient clinic providing varicose

vein treatment, among other services, including high-dose intravenous (“IV”)

vitamin C infusions during the COVID-19 pandemic. Services provided at an

outpatient clinic, if deemed reasonable and necessary, are covered by Medicare

Part B.




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      9.     Medicare Part B claims are processed and paid by private insurance

organizations, known as fiscal intermediaries and carries, respectively, who

contract with CMS to administer their specific part of Medicare Program.

      10.    By becoming a participating provider in Medicare, enrolled providers

agree to abide by the policies and procedures, rules, and regulations governing

reimbursement. To receive Medicare funds, enrolled providers, together with their

authorized agents, employees, and contractors, are required to abide by all

provisions of the Social Security Act, the regulations promulgated under the Act,

and applicable policies, procedures, rules, and regulations issued by CMS and its

authorized agents and contractors. Health care providers are given and provided

with online access to Medicare manuals and services bulletins describing proper

billing procedures and billing rules and regulations.

      11.    When a provider enrolls in Medicare, Medicare requires the provider

to certify that they provider understands that payment of a claim by Medicare is

conditioned upon the claim and the underlying transaction complying with the

laws, regulations, and program instructions applicable to Medicare. A provider

also must certify that the provider will not submit false or fraudulent claims.

Medicare would not pay claims for services that were not medically necessary and

were not provided as represented to Medicare.



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               2.      Varicose Vein Treatment

       12.     Medicare relies on Medicare Administrative Contractors (“MACs”) to

process claims for Medicare Fee-For-Service (“FFS”) beneficiaries. MACs are

multi-state, regional contractors responsible for administering both Medicare Part

A and Medicare Part B claims. The MAC responsible for the State of Michigan is

Wisconsin Physician Service Insurance Corporation (“WPSIC”).

       13.     MACs issue Local Coverage Determinations (“LCDs”) on whether a

service or item is reasonable and necessary, and therefore covered by Medicare

within the specific region that the MAC oversees.

       14.     WPSIC issued LCD L345361 as it relates to varicose vein treatment(s)

for the State of Michigan.

       15.     Historically, varicose veins have been treated by conservative

measures such as exercise, periodic leg elevation, weight loss, compressive therapy

and avoidance of prolonged immobility. When conservative measures are

unsuccessful, and symptoms persist, the next step has been sclerotherapy or

surgical ligation with or without stripping. Sclerotherapy involves the injection of

a sclerosing solution into the varicose vein(s).



1
 https://www.cms.gov/medicare-coverage-database/details/lcd-
details.aspx?LCDId=34536&ver=30&articleId=56914&CoverageSelection=Local&ArticleType=All&PolicyType=
Final&s=South+Carolina&CptHcpcsCode=93971&bc=gAAAABAAQAAA&



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      16.      More recently, endoluminal radiofrequency ablation (“ERFA") and

endoluminal laser ablation have been developed as alternatives to sclerotherapy

and surgical intervention. These procedures as designed to damage the intimal wall

of the vein resulting in fibrosis and subsequent ablation of the lumen of a segment

of the vessel.

      17.      Doppler ultrasound or duplex studies are often used to map the

anatomy of the venous system prior to the procedure. Medicare will cover one

ultrasound or duplex scan prior to the procedure to determine the extent and

configuration of the varicosities when it is medically necessary. The Current

Procedural Terminology codes for radiofrequency and laser include the intra-

operative ultrasound service in the valuation and ultrasound may not be billed

separately with these procedures.

      18.      Indications for surgical treatment and sclerotherapy include:

            x A 3-month trial of conservative therapy such as exercise, periodic leg

               elevation, weight loss, compressive therapy, and avoidance of

               prolonged immobility where appropriate, has failed, AND

            x The patient is symptomatic and has one, or more, of the following:




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                    oPain, aching, cramping, burning, itching and/or swelling during

                     activity or after prolonged standing severe enough to impair

                     mobility

                    oRecurrent episodes of superficial phlebitis

                    oNon-healing skin ulceration

                    oBleeding from a varicosity

                    oStasis dermatitis

                    oRefractory dependent edema

      19.      In addition to the factors in the paragraph above, the patient’s

anatomy and clinical condition are amenable to the ERFA or laser ablation

including ALL of the following:

            x Absence of aneurysm in the target segment.

            x Maximum vein diameter of 20 mm for ERFA or 30 mm for laser

               ablation.

            x Absence of thrombosis or vein tortuosity, which would impair

               catheter advancement.

            x The absence of significant peripheral arterial diseases.

      20.      Limitations for ERFA and laser ablation include:




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       x ERFA and laser ablation are covered only for the treatment of

          symptomatic varicosities of the lesser or greater saphenous veins and

          their tributaries which have failed 3 months of conservative measures,

          by any technique, will be considered cosmetic and therefore not

          covered.

       x Intra-operative ultrasound guidance is not separately payable with

          ERFA, laser ablation.

       x The treatment of asymptomatic varicose veins, or symptomatic

          varicose veins without a 3-month trial of conservative measures, by

          any technique, will be considered cosmetic, and therefore not covered

          unless there is associated bleeding.

       x Coverage is only for devices specifically Food and Drug

          Administration (“FDA”)-approved for these procedures.

       x One pre-operative Doppler ultrasound studies will be allowed if

          medically necessary.

       x Post-procedure Doppler ultrasound studies will be allowed if

          medically necessary.




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      21.      The stab phlebectomy of the same vein performed on the same day as

endovenous radiofrequency or laser ablation may be covered if the criteria for

reasonable and necessary as described in this LCD are met.

      22.      If sclerotherapy is used with endovenous ablation, it may be covered

if the criteria for reasonable and necessary as described in this LCD are met.

      23.      The treatment of asymptomatic veins with endoluminal ablation or

sclerotherapy is not considered medically reasonable and necessary. If it is

determined on review that the varicose veins were asymptomatic, the claim will be

denied as a noncovered (cosmetic) procedure.

      24.      The following are documentation requirements that must be met for

the service to be reimbursed by Medicare:

            x Each claim must be submitted with a diagnosis code(s) that reflects

               the condition of the patient and indicates the reason(s) for which the

               service was performed.

            x The patient’s medical record must contain a history and physical

               examination supporting the diagnosis of symptomatic varicose veins,

               and the failure of an adequate (at least 3 months) trial of conservative

               management.




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            x This documentation must be made available to Medicare upon

               request.

            x When the documentation does not meet the criteria for the service

               rendered or the documentation does not establish the medical

               necessity for the services such services will be denied as not

               reasonable and necessary under Section 1862(a)(1) of the Social

               Security Act.

      25.      The table below shows the 2019 Michigan reimbursement rates for the

different varicose vein treatment codes.




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                                                     Table2
                                                                                 NON-FACILITY        FACILITY
CODE    DESCRIPTION                                                              PRICE               PRICE
        Injection of non-compounded foam sclerosant with ultrasound
        compression maneuver to guide dispersion of the injectate,
        inclusive of all imaging guidance and monitoring; single
        incompetent extremity truncal vein (e.g., great saphenous
36465   vein, accessory saphenous vein)                                                  $1,568.27        $135.79
        Injection of non-compounded foam sclerosant with ultrasound
        compression maneuver to guide dispersion of the injectate,
        inclusive of all imaging guidance and monitoring; multiple
        incompetent truncal vein (e.g., great saphenous vein,
36466   accessory saphenous vein), same leg                                              $1,651.30        $172.84
        Injection of sclerosant; single incompetent vein (other than
36470   telangiectasia)                                                                    $111.48         $43.40
        Injection of sclerosant; multiple incompetent veins (other than
36471   telangiectasia), same leg                                                          $202.14         $85.94



                   3.      High-Dose Intravenous Vitamin C Infusion

          26.      Vitamin C is a nutrient that is found in various fruits and vegetables.

  vitamin C is an antioxidant and helps prevent damage to cells caused by free

  radicals. It also works with enzymes to play a key role in making collagen.

  vitamin C is also called L-ascorbic acid or ascorbate.

          27.      High-dose vitamin C may be taken by mouth or given by an IV

  infusion (through the vein into the bloodstream). When taken by IV infusion,

  vitamin C can reach higher levels in the blood than when the same amount is taken

  by mouth.


  2
    Centers for Medicare and Medicaid, Physician Fee Schedule (April 21, 2020)
  https://www.cms.gov/apps/physician-fee-schedule/search/search-criteria.aspx



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      28.      In general, high-dose vitamin C given by IV has caused very few side

effects in clinical trials. However, IV vitamin C may cause serious side effects in

patients with kidney disease, G6DP deficiency, or hemochromatosis.

      29.      Generally, drugs and biologicals are covered by Medicare only if all

of the following requirements are met:

            x They meet the definition of drugs or biologicals

            x They are of the type that are not usually self-administered

            x They meet all the general requirements for coverage of items as

               incident to a physician’s service

            x They are reasonable and necessary for the diagnosis or treatment of

               the illness or injury for which they are administered according to

               accepted standards of medical practice

            x They are not excluded as noncovered immunizations

            x They have not bee determined by the FDA to be less than effective

      30.      Use of the drug or biological must be safe and effective and otherwise

reasonable and necessary. Drugs or biologicals approved for marketing by the

FDA are considered safe and effective for purposes of this requirement when used

for indications specified on the labeling. Therefore, Medicare may pay for the use

of an FDA approved drug or biological, if:



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            x It was injected on or after the date of FDA approval

            x It is reasonable and necessary for the individual patient; and

            x All other applicable coverage requirements are met

      31.      Determinations as to whether a medication is reasonable and

necessary for an individual patient should be made on the same basis as all other

such determinations (i.e. with the advice of medical consultants and with reference

to accepted standards of medical practice and the medical circumstances of the

individual case). The following guidelines identify three categories in which

medications would not be reasonable and necessary according to the accepted

standards of medical practice:

            x Not for a Particular Illness; medications given for a purpose other than

               the treatment of a particular condition, illness, or injury are not

               covered (except for immunizations)

            x Charges for Medications; vitamins given simply for the general good

               and welfare of the patient and not as accepted therapies for a

               particular illness are excluded from coverage

            x Excessive Medications; medications administered for treatment of a

               disease and which exceed the frequency or duration of injections

               indicated by accepted standards of medical practice are not covered



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          32.     If a medication is determined not to be reasonable and necessary for

  diagnosis or treatment of an illness or injury according to the above guidelines, the

  MAC excludes the entire charge (i.e. for both the medication and its

  administration). Also, the MAC excludes from payment any charges for other

  services (such as office visits) which were primarily for the purpose of

  administering a noncovered injection.

          33.     Medicare does not cover preventative care for immune booster and

  thus any vitamin C infusion for a Medicare beneficiary as a prophylaxis (i.e.

  immune boosting) is not a covered service.

          34.     The table below shows the 2019 Michigan reimbursement rates for the

  codes related to infusion therapy.


                                                                     NON-FACILITY
CODE    DESCRIPTION                                                  PRICE           FACILITY PRICE
99201                                                                         $44.30          $26.75
99202                                                                         $74.21          $50.36
99203                                                                       $105.66           $75.85
99204   Office or other outpatient visit for the evaluation and             $161.19          $128.40
99205   management of a new patient                                         $202.98          $167.54
99211                                                                         $21.76           $9.17
99212                                                                         $43.61          $25.39
99213                                                                         $72.30          $50.77
99214 Office or other outpatient visit for the evaluation and               $106.08           $78.26
99215 management of an established patient                                  $142.49          $110.36
      Intravenous infusion, for therapy, prophylaxis, or diagnosis
96365 (specify substance or drug)                                              $67.66            $67.66
      Antibody; severe acute respiratory syndrome coronavirus          Fee Schedule is   Fee Schedule is
86769 2(SARS-CoV-2) (Coronavirus disease [COVID-19])                     Not Available     Not Available




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                                                                Fee Schedule is    Fee Schedule is
J7050 Infusion; normal saline solution, 250 cc                    Not Available      Not Available
                                                                Fee Schedule is    Fee Schedule is
J3490 Unclassified drugs                                          Not Available      Not Available




                         THE DEFENDANT AND HIS PRACTICE

          35.    The Defendant, CHARLES MOK, is a Doctor of Osteopathy and

  received his degree from the Chicago College of Osteopathic Medicine in Illinois in

  1989. MOK was first licensed in the State of Michigan on or around June 23, 1990.

  MOK also maintains professional licenses in at least ten other states; Florida, South

  Carolina, Georgia, Wisconsin, Indiana, Nebraska, North Carolina, Ohio, Mississippi,

  and Tennessee.

          36.    Allure Medical Spa, PLLC (ALLURE) was founded in 2014 by

  MOK. ALLURE is organized under the laws of the State of Michigan. Its principal

  place of business is at 8180 26 Mile Road, Shelby Township. MI 48316. ALLURE

  operates twenty-six outpatient clinics specializing in varicose vein treatments in

  eight different states with at least six clinics within the State of Michigan.

          37.    ALLURE utilizes a “flat leadership” model with no C-suite, no

  managers, and no explicit hierarchy. There is an executive team, known as a

  “Strategic Counsel,” comprised of MOK and several upper management

  employees.


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      38.   ALLURE is not an enrolled Medicare provider and bills for services

its providers render under VEIN CENTER AT ALLURE MEDICAL SPA, PLLC

(“VEIN CENTER”) using National Provider Identifier (“NPI”) 1457302051. VEIN

CENTER’s principle place of business is at the ALLURE location in Shelby

Township. ALLURE and VEIN CENTER are two separate entities and there is no

management services organizations (MSOs) agreement in place.

      39.   Medicare records indicate VEIN CENTER has been an enrolled

provider with Medicare dating back to at least November 1, 2017, and as such, has

certified to Medicare that it would comply with all Medicare rules and regulations,

including that it would not knowingly present or cause to be presented a false and

fraudulent claim for payment by Medicare.

      40.   According to the enrollment record, VEIN CENTER’s principal

practice location is at the Shelby Township ALLURE location.

                            INVESTIGATIVE BACKGROUND

      41.   In April 2020, HHS-OIG and the FBI initiated an investigation into

ALLURE in connection with allegations of health care fraud related to varicose

vein treatments.

      42.   A cooperating witness, (“CW-1”), is an employee at ALLURE. As

part of CW-1’s job responsibilities, CW-1 is known to have direct access to MOK,



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to other key employees, as well as to records, files, and materials maintained at

ALLURE. CW-1 has corroborated CW-1’s access to ALLURE personnel and

information by providing documents, communications, and by conducting

consensually recorded voice calls.

CW-1 reported that ALLURE engaged in a continuing scheme to defraud the

United States through the submission of false and fraudulent claims to Medicare

for payment for services in its clinics treating varicose veins. Claims were false

and fraudulent because they were for services that were unreasonable, unnecessary,

or that simply did not occur as ALLURE reported to have occurred. Specifically,

these schemes included:

         x Upcoding of Varithena Treatments: ALLURE treats tributary (branch)

             veins with Varithena injections but bills Medicare as if its providers

             had treated the patients’ greater saphenous veins (“GSV”) veins with

             Varithena injections. The proper codes for treatment of the tributary

             veins with Varithena injections are CPT code(s) 36470 and 36471.

             The CPT code(s) for treatment of the GSV with Varithena injections

             are 36465 and 36466. CPT code(s) 36465 and 36466 have much

             higher reimbursement rates then CPT code(s) 36470 and 36471. As

             such, ALLURE upcodes the visits and improperly bills CPT code(s)



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              36465 and 36466 for Varithena injections into the tributary veins in

              order to increase reimbursements.

            x Providing Excessive, Medically Unnecessary Treatments: Records

              show that ALLURE patients receive up to 19 Varithena injections per

              leg and/or up to 12 ablations per leg, beyond what is medically

              necessary to treat their conditions. Medicare regulations state that

              “Medicare would not expect to see . . . more than three sclerotherapy

              sessions [such as Varithena injections] for each leg.” Industry

              standard is less than two ablations per person. ALLURE is providing

              excessive and medically unnecessary treatments in order to increase

              profits.



      43.     The allegations relating to Varithena date back to 2018, when

ALLURE first started using Varithena injections to treat varicose veins.

      44.     CW-1 also informed law enforcement that, beginning on April 14,

2020, ALLURE began offering high-dose IV vitamin C infusions to patients at risk

of contracting COVID-19 and those who have already tested positive for COVID-

19. The roll-out of these procedures was marketed through a video offering a

treatment which MOK said was being used in hospitals across the country to treat



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the most advanced COVID-19 related disease for individuals who tested positive

for COVID-19. In multiple launch videos, MOK states that ALLURE is offering

these infusions because vitamin C reduces the duration and severity of symptoms

of COVID-19. In other statements, he recognizes that vitamin C has not been

approved by the FDA or any other agency or recognized medical association to

treat COVID-19.

       45.   CW-1 received communications via electronic mail indicating that

ALLURE will bill insurance companies, including Medicare, for treatments related

to the IV vitamin C infusion to include an CPT code(s) related to office visits for

new and established patients, infusion with saline and vitamin C, and antibody

testing.

       46.   On April 20, 2020, CW-1 provided law enforcement with information

from internal records readily available to CW-1 showing that ALLURE has

submitted at least 98 claims to insurance companies, including Medicare, related to

infusion therapy services as it relates to COVID-19 treatment.




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                              PROBABLE CAUSE

      47.    Probable cause that MOK violated 18 U.S.C. §1347 is established

from Medicare data, statements, records, and information from employees of

ALLURE (including CW-1), statements from medical experts, and medical review

of patient records.

      48.    This evidence demonstrates that prior to and continuing during the

COVID-19 pandemic, MOK engaged in a scheme to defraud the United States

through the submission of false and fraudulent claims to Medicare for payment

related to the treatment of varicose veins.

      49.    The evidence will further demonstrate that MOK used the COVID-19

pandemic as an opportunity to bill insurers for Vitamin-C infusions fraudulently

represented as COVID-19 treatments and preventative measures. In addition to

billing for fraudulent medical treatments at ALLURE, MOK failed to observe

appropriate protocols at the clinic minimize the spread of the virus.

      A.     MEDICARE DATA

      50.    Medicare claims data demonstrates that from January 1, 2018 until

April 7, 2020, ALLURE billed approximately 27,580 claims for services rendered

by its providers to approximately 3,131 Medicare beneficiaries. These services

include treatments related varicose veins and dermatologic conditions which led to



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approximately $41.4 million in billings to Medicare resulting in approximately

$12.5 million paid to ALLURE.

      51.   During the same time frame, ALLURE has billed approximately 409

claims for CPT code 36465 totaling approximately $1.3 million of which $450,000

was paid. ALLURE has billed approximately 5,395 claims for CPT code 36466

totaling approximately $19.7 million of which $5.9 million was paid.

      52.   According to a peer comparison of Medicare data for the 2nd half of

2019, ALLURE was paid approximately $3.1 million, more than five times as

much as the next highest practice in the nation, which was paid approximately

$588,000 for CPT Code 36466.

      53.   ALLURE is not only a reimbursement outlier; it is an outlier on the

intensity of its use of CPT Code 36466 when compared to other, similar codes.

CW-1 alleges that ALLURE should be billing its services under CPT code(s)

36470 and 36471 instead of under CPT code(s) 36465 and 36466. A distribution

of these four CPT codes across all practices in the United States shows that

ALLURE is an extreme outlier on CPT code 36466 in that approximately 88% of

its total claims for these four codes are CPT code 36466, while the national

average is approximately 11%; approximately 82% of its Medicare beneficiaries

are being billed for this code while the national average is approximately 11% and



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Medicare beneficiaries are on average getting 3.67 of these procedures while the

national average is two.

      54.    MOK himself has been identified as an extreme outlier for Michigan-

based physicians. His billing records place him in the 99.9th percentile in the

country in billings for potentially cosmetic procedures.

      55.    As was noted above, internal records readily available to CW-1 show

that ALLURE has submitted at least 98 claims to insurance companies, including

Medicare, related to Vitamin-C infusion therapy services offered to patients as

purported COVID-19 treatment and preventative care.

      B.     EMPLOYEE STATEMENTS

             CW-1

      Vericose Vein Treatments

      56.    CW-1 reports that MOK and other practitioners at ALLURE treat

varicose veins, which are twisted, swollen veins, often appearing blue or dark

purple. Varicose veins are caused by venous insufficiency as a result of valve

reflux (incompetence). As such, varicose veins are also known as incompetent

veins. Any superficial vein may become varicosed, but the veins most commonly

affected are those in the legs. Superficial veins in the legs include the truncal




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veins; the GSV, the small saphenous vein (“SSV”) and their tributary and

accessory veins, and the accessory saphenous veins (“ASV”).

      57.    The GSV is the major superficial vein of the medial leg and thigh. It is

the longest vein in the human body, extending from the top of the foot to the upper

thigh and groin. The SSV is a superficial, subcutaneous vein of the lower leg.

      58.    Tributary veins and ASVs differ in terms of the structure of their wall

and their topography. Tributaries have a fragile wall, frequently associated with a

tortuous, varicose appearance, with thin-walled ectatic zones interrupted by thick-

walled zones. In contrast, ASVs possess a more solid, reinforced media and can

consequently be considered to have a “saphenous” type of wall. Topographically,

ASVs remain relatively linear and run close to the main saphenous trunk while

tributaries are often situated at a distance from saphenous trunks and may travel

around the thigh, corresponding to a scarf distribution. Accordingly, treatment of

the tributaries and the ASVs is billed differently.

      59.    Perforator (branch) veins connect the superficial venous system with

the deep venous system.

      60.    According to CW-1, MOK and other practitioners at ALLURE treat

perforator (branch) veins with Varithena injections but bill Medicare as if its




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providers treated the patients’ truncal veins with Varithena injections in order to

maximize reimbursements.

      61.    Treatment of varicose veins includes compression therapy, ablation

and sclerotherapy. According to the treatment plan section of the ALLURE patient

visit notes, ALLURE’s general practice is to first ablate the GSV, SSV or ASV

using either / both radiofrequency ablation (“RFA”) and laser ablation (“EVLA”).

This procedure “injures” the vein walls causing the veins to close and eventually

turn into scar tissue. It is impractical to ablate tributary veins due to their thin

walls and spiral shape. As such, if the patient continues to experience symptoms,

which is common, ALLURE then treats the varicosed tributary veins (referred

internally at ALLURE as “varicosities”) with sclerotherapy, the injection of foam.

Since around spring of 2018, ALLURE has been treating the tributary veins

primarily with Varithena injections. In the past, ALLURE used sodium tetradecyl

sulphate (“STS”) injection to treat the tributaries.

      62.    Varithena is FDA-approved for treatment of incompetent GSVs,

ASVs and tributaries above and below the knee. Varithena is not FDA-approved

for the treatment of the SSV. ALLURE primarily treats the veins above the knee

with Varithena but also treats veins below the knee as well on a routine basis. The

billing code(s) for treatment of the veins with Varithena are CPT code(s) 36465



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(single incompetent truncal vein) and 36466 (multiple incompetent truncal veins in

the same leg). The definitions of CPT code(s) 36465 and 36466 define truncal

veins as the GSVs and the ASVs. Tributary veins are excluded from the two

definitions. The proper billing code(s) for treatment of other incompetent veins,

such as tributary veins, with Varithena injections are CPT code(s) 36470 and

36471. CPT code(s) 36465 and 36466 have a much higher reimbursement rates

than CPT code(s) 36470 and 36471. As such, ALLURE upcodes the visits and

bills Medicare CPT code(s) 36465 and 36466 for Varinthea injections into the

tributary veins in order to increase reimbursements.

      63.    Ablations and Varinthea injections are mutually exclusive treatments.

Once a vein is ablated, it is closed. As such, there is no need to treat it with

Varintena injections. This means that ALLURE did not and could not have treated

the GSV, ASVs, or SSVs with Varithena injections following an RFA and/or an

EVLA ablation. The Ultrasound Order section in the patients’ medical record

clearly states the GSVs were already ablated before the start of the patient’s

Varithena injections. As such, Varithena injections following ablations of the

GSVs, SSVs, and ASVs (when applicable) were performed on the tributary veins.

Accordingly, the vast majority of Varithena claims following ablation of the GSV

should have been billed as CPT code(s) 36470 or 36471.



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      64.    ALLURE is documenting the treatments in the patient’s medical

record in a very generalized fashion stating something to the effect of “ultrasound

guided injections on non-compounded microfoam therapy for the right great

saphenous, small right saphenous, right varicose and/or enlarged branches and due

to vein morphology and distal disease.” The “and/or” statement is overly inclusive

and suggests that the GSV and SSV were also injected in addition to the tributaries.

However, this is not correct, and cannot be, because the GSV was already ablated

and closed, and Varithena is not FDA-approved for treating the SSV. As such,

according to CW-1, the documentation is false.

      65.    CW-1 has direct knowledge of thousands of Medicare claims for

beneficiaries who received Varithena injections after ablations and whose

Varithena injections were improperly billed as CPT code(s) 36465 and 36466.

Many of the beneficiaries were billed for several Varithena injections.

      66.    MOK has attempted to justify billing Medicare CPT code(s) 36465

and 36466 when injecting tributaries in several communications with CW-1.

MOK argues that, if ALLURE providers inject the tributaries with Varithena, some

of the foam will make its way into the truncal veins that were already ablated and

this justifies billing Medicare for the higher reimbursable CPT code(s). MOK’s

explanation directly contradicts LCD 34536, which governs the provisions of



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Medicare services for varicose vein treatment in Michigan. The code definitions

specifically state that CPT code(s) 36465 and 36466 are only for injecting truncal

veins. The CPT code(s) are based on which vein is injected, not which veins the

foam might eventually seep into. Moreover, ALLURE had already ablated the

truncal veins so no Varithena foam could make its way to any of the tributaries

because they were already closed. MOK’S justification for this billing practice is

thus directly belied by the rules governing reimbursement for the relevant codes,

leading CW-1 to believe it disingenuous.

      67.    In videos created by MOK and distributed and/or available to

ALLURE staff including CW-1, MOK references his personal review of Medicare

regulations and makes clear that he is against making any changes to how

ALLURE bills for Varithena. According to CW-1, he is resolute on this point

despite having heard concerns from fellow practitioners and other ALLURE

employees about the propriety of this billing practice. MOK acknowledges that

truncal veins and tributary veins are different veins and that CPT code(s)

differentiate between the two. Despite this, MOK explores various theories to

justify classifying both under the umbrella of truncal veins because otherwise, if

ALLURE were billing correctly, it would receive significantly less reimbursement

per Varithena injection. This would affect ALLURE’s overall profits.



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       68.    ALLURE also renders medically unnecessary Varithena injections

and ablations to Medicare beneficiaries in order to maximize its profits. Internal

ALLURE records readily available to CW-1 show that some ALLURE patients

receive up to 19 Varithena injections per leg and/or up to 12 ablations per leg, well

beyond what is medically necessary to treat their conditions.

       69.    According to Medicare regulations, Medicare would not expect to see

more than three sclerotherapy sessions, which includes Varithena injections, for

each leg.

       2. PRACTICES DURING THE COVID-19 PANDEMIC

       70.    In March of 2020, Governor Gretchen Whitmer, issued an Executive

Order placing temporary restrictions on non-essential medical and dental

procedures. Governor Whitmer ordered that “all hospitals, freestanding surgical

outpatient facilities, and dental facilities, and all state-operated outpatient facilities.

. . must implement a plan to temporarily postpone, until the termination of the state

of emergency under section 3 of Executive Order 2020-4, all non-essential

procedures…for purpose of this order, ‘non-essential procedures’ means a medical

or dental procedure that is not necessary to address a medical emergency or to

preserve the health and safety of a patient, as determined by a licensed medical

provider.”



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71.   Despite the Executive Order, MOK has directed ALLURE and its staff to

continue performing elective, non-essential medical procedures and to keep its

clinics open.

      72.       ALLURE providers and staff are continuing to perform vein ablations,

Varithena vein injections, and even cosmetic procedures on hundreds of patients.

MOK interprets the Executive Order and Directive as not applying to ALLURE

because he categorizes ALLURE’s procedures as essential rather than elective.

MOK told ALLURE staff if ALLURE does not treat patients now, the patients will

develop complications and seek help at hospitals, which will drain hospital

resources. MOK seeks to capitalize on the fact that ALLURE’s competitors have

closed their offices and see this as an opportunity to steal competitors’ patients. In

ordering ALLURE’s operations to continue, MOK and ALLURE is subjecting

ALLURE’s patients to COVID-19 and risk increasing the spread of the virus.

      73.       On March 20, 2020, when MOK was alerted of the State of Michigan

Order, CW-1 participated in a video conference with MOK and several other

ALLURE staff members. It was suggested to MOK that ALLURE’s vein

procedures are non-essential and that the Executive Order applies to ALLURE.

MOK was further advised that ALLURE’s competitors in Michigan were closing




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their vein practices in Michigan. MOK responded saying the other practices were

“cowards” and the COVID-19 pandemic is an “opportunity to capture the market.”

          74.     MOK followed-up the meeting by publishing a video for ALLURE

staff and then subsequently uploading the video to his YouTube channel 3

explaining why ALLURE was staying open and operating despite the Executive

Order. In the video, MOK states ALLURE is “doing everything that can be done

to limit exposure,” including self-screenings of employees for COVID-19

symptoms and asking employees to leave if they have a cough or temperature.

MOK further states that he is “doing things based on science and data, and not on

“hype” because “the worst-case scenario [that Michigan is preparing for] will not

occur.” MOK adds: “We don’t have to one-up the Governor. . . We don’t have to

take it a step further and say were not gonna close our business down because this

virus is expected to be here until December. . . because that is way past an over-

abundance of caution. . . I’m trying to avoid doing, making errors that we have

control over. Now if the governor comes in and says we have to close down

medical practices, that’s what it is. . . we have to do it.” However, when the

Governor issued another Executive Order requiring that all activities that are not




3
    https://www.youtube.com/watch?v=VHXjEIynrI8&feature=youtu.be



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necessary to sustain or protect life be suspended and all non-essential personnel

stay home, MOK again refused to comply.

      75.     ALLURE’s management has expressed concern that ALLURE

remains open. On March 23, 2020, a Regional Director (“EMPLOYEE-1”) sent

CW-1 a text message stating, “I can’t help but feel we are manipulating the

governors [sic] message. Realistically how many times over the past year has a

vein patient ended up in a hospital. I’m not feeling good about the decision.”

      76.    On March 23, 2020, one of ALLURE’s Directors (“EMPLOYEE-2”)

sent CW-1 a text message stating the following, “Omg [Oh my God]. He [MOK]

wants cosmetic patients to stay on. He just flipped on me.” CW-1 replied, “What?

I thought he was canceling cosmetic patients.” EMPLOYEE-2 responded, “Me

too. . . he just said no and he doesn’t know where that’s coming from and he want

[sic] a zoom meeting with us. . .to get on the same page because we’re ruining the

business.”

      77.    CW-1 has observed that MOK has been facing pushback from

ALLURE’s providers and management team for his decision to keep ALLURE

open and operating. In response, MOK published another video on his YouTube




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channel on March 24, 20204 threatening providers with malpractice lawsuits if they

don’t continue treating patients.

          78.     Based on CW-1’s medical training and experience working at

ALLURE, patients that visit ALLURE do not go to the hospital after an ablation.

MOK is manipulating the Executive Order to fit his narrative, which is to do

everything to keep the business running, even if this puts ALLURE’s staff and

patient’s lives at risk. If MOK’s priority was patient care, ALLURE would not be

screening and treating new patients during this time but would instead focus on

scanning established patients who had an ablation to ensure they do not develop a

DVT. However, even providing these scans to established patients is not an

essential service necessary to sustain or protect life since according to CW-1 and

EMPLOYEE-1 indicated less than 1% of ALLURE patients have developed a

DVT from an ablation. As such, prior to the COVID-19 pandemic, ALLURE did

not routinely scan patients for a DVT after an ablation procedure but is asking

patients to come in for this scan while a statewide emergency Executive Order is in

effect. This scenario is easily accomplished by ALLURE providers whom are

available on-call for emergencies.




4
    https://www.youtube.com/watch?v=pzeBsCimUNc&feature=youtu.be



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      79.    In a March 24, 2020 text message to CW-1, MOK wrote, “We’ve had

massive breakthroughs Added 38 new patient screens today which is very high for

a Tuesday. Our culture and core values are the most alive and well in our history

and our goal to restore wages is the most safe it’s been. We are still at risk. But our

amazing ladies and gentlemen have stepped up. It almost feels like WW2 where

people pulled together to save our world as we know it. . . Today. [sic] We added

28 mapping Did you look at the video from today? I think we need to send it to all

vein practices to save healthcare I’m leery to as it is a strategy. But want to as we

need to save healthcare”. MOK later stated, “I’d like to send to every Doc. Need

to do a call. If we don’t act more lives are lost. Not related to us. Our mission is to

save healthcare I need freedom to do it.”

      80.    Internal ALLURE records readily available to CW-1 show that

between March 24, 2020 and April 14, 2020, ALLURE has treated approximately

950 patients, in-person at its clinics, including the Subject Premises. The clinics’

waiting rooms were full of patients sitting next to each other and not adhering to

the six-foot social distancing recommendation by the Centers for Disease Control

(“CDC”). Employees are working without proper PPE and are in close contact with

each other and patients during examinations and treatments. The majority of




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ALLURE’s patient census are patients over 50 years of age and have other health

problems.

      81.   CW-1 is aware of five employees that have tested positive for

COVID-19 yet continued to work and treat patients at ALLURE. At least one

employee, a nurse practitioner (EMPLOYEE-3), continued to work knowing s/he

had tested positive for COVID-19. Another employee, a physician (EMPLOYEE-

4), came back to work after self-isolating for nine days between March 21, 2020

and March 30, 2020. On April 5, 2020, CW-1 was informed that both

EMPLOYEE-3 and EMPLOYEE-4 tested positive for COVID-19.

      82.   EMPLOYEE-3 exhibited COVID-19 symptoms on March 24, 2020

and subsequently took leave from ALLURE. Per human resources (“HR”) notes

readily available to CW-1, EMPLOYEE-3 returned to work on March 30, 2020 but

according to other internal ALLURE records readily available to CW-1, the

records suggest EMPLOYEE-3 returned to work on April 9, 2020. Those same

records show that between March 16, 2020 and April 18, 2020, EMPLOYEE-3

treated 131 patients at ALLURE. On April 17, 2020, EMPLOYEE-3 reported to

CW-1 that s/he was administered a nasal swab test which indicted s/he was still

positive for COVID-19 and s/he remained symptomatic. Despite EMPLOYEE-3’s




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concern, MOK assigned EMPLOYEE-3 to treat COVID-19 patients because s/he

had already contracted the virus.

      83.    EMPLOYEE-4 returned to work at ALLURE on March 30, 2020

upon becoming asymptomatic for COVID-19. On March 30, 2020, EMPLOYEE-

4 tested positive for COVID-19. Despite testing positive, EMPLOYEE-3 and

EMPLOYEE-4 continue to work at ALLURE treating patients.

      84.    Internal ALLURE records readily available to CW-1 show that

between March 16, 2020 and March 20, 2020, before self-isolating, EMPLOYEE-

4 treated 40 patients. From March 30, 2020 to April 8, 2020, EMPLOYEE-4

treated 69 patients. Most of the patients treated by EMPLOYEE-4 are over the age

of 50 and many are in their 60s, 70s, and some patients are in their 80s. The

numbers continue to grow as EMPLOYEE-4 is continuing to work at ALLURE.

      85.    MOK advised EMPLOYEE-4 and others within management

including CW-1 that none of the staff EMPLOYEE-4 has worked with, and

continues to work with, need to be informed of the positive COVID-19 results.

MOK indicated he did not want to alert the staff who work with EMPLOYEE-4 or

the patients treated by EMPLOYEE-4 to self-quarantine themselves because he

does not think it is warranted.




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      86.   A physician assistant (EMPLOYEE-5) tested positive for COVID-19

based on a test administered at ALLURE. EMPLOYEE-5 began exhibiting

COVID-19 symptoms on or around March 16, 2020 but did not take leave from

work until March 26, 2020. Internal ALLURE records readily available to CW-1

show that between March 16, 2020 and March 20, 2020, before self-isolating,

EMPLOYEE-5 treated 33 patients.

      87.   A registered vascular technician (EMPLOYEE-6) worked directly

with EMPLOYEE-5 between March 16, 2020 and March 20, 2020 and ultimately

tested positive for COVID-19. EMPLOYEE-6 took leave from ALLURE on

March 25, 2020 and returned to work on April 9, 2020 after being cleared by the

ALLURE COVID-19 Director.

      88.   Based on HR records readily available to CW-1, six other employees

exhibited COVID-19 symptoms but were never tested. These employees

continued to work a portion or all the time it was suspected they had contracted

COVID-19.

      INTRAVENOUS INFUSION OF VITAMIN C

      89.   On April 12, 2020, ALLURE started offering high-dose IV infusions

of vitamin C for patients who are at risk of contracting COVID-19, and who have

already tested positive for COVID-19. MOK categorizes “at risk” patients as those



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individuals who are essential workers and on the frontline of the COVID-19

pandemic, such as nurses and firefighters, and also those individuals who have an

immunodeficiency. MOK further represented that the IV infusions will be covered

by the patient’s medical insurance.

          90.    MOK presented the idea for IV infusions to ALLURE’s management

team in-person and by video he sent on April 10, 2020. In the video, MOK

acknowledges that vitamin C is not FDA-approved for treating COVID-19, and

states that ALLURE will not advertise it this way. On April 11, 2020, MOK

published a video on his YouTube channel 5 advertising the vitamin C IV infusion

therapy. In the video, MOK states that “IV vitamin C is being used in hospitals

across the country to treat the most advanced disease associated with COVID-19,

called Severe Acute Respiratory Syndrome Coronavirus 2 or SARIS-2.” MOK

further states, “It is also being used to reduce the duration and severity of illness in

more moderate forms of COVID-19… it is becoming standard of care to use high-

dose vitamin C for the sickest patients.” MOK’s stated goal in using IV vitamin C

is to keep people from even going to the hospital.

          91.    In a separate YouTube post reviewed by federal law enforcement,

MOK praised the benefits of vitamin C infusion as a treatment for COVID-19 by


5
    https://www.youtube.com/watch?v=RKXSeHiXJRc



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stating that such infusions will “reduce the severity of symptoms, duration of

illness, and therefore the contagiousness.” According to the FDA, there are no

drugs, therapeutics, or vaccines yet approved to specifically treat, cure, or prevent

COVID-19.

      92.    ALLURE began rendering infusions as a billable service in Michigan

on April 14, 2020. All medical records relating to the IV vitamin C infusions are

being documented on a single piece of paper, inconsistent with ALLURE’s regular

practice of using an electronic medical record.

      93.    ALLURE staff have expressed concern to CW-1 indicating that they

are concerned about providing Vitamin-C infusions to patients who have

contracted COVID-19 patients or are at a high risk of doing so. MOK stated that

sick patients will be seen on designated days and only in the surgery center. During

an April 15, 2020 management meeting, MOK said that those offices that refuse to

provide this service (IV vitamin C infusion) would be fired and they would have to

be shut down. MOK said, “If you won’t treat COVID patients in the fear that they

would expose vein patients you need to shut down!” In response to the pushback

from ALLURE’s staff and providers, MOK told non-management staff and

providers during a later meeting on April 15, 2020 that the Government is telling

him to render vitamin C infusions and this is why ALLURE’s offices are open.



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             EMPLOYEE-2

      94.    On April 19, 2020, EMPLOYEE-2 was interviewed by law

enforcement regarding current practices at ALLURE.

      95.    As a result of the COVID-19 pandemic, ALLURE’s primary medical

focus of venous procedures has dropped off. As a result, ALLURE began a

campaign to bring patients back in for follow-up care related possible post-

operative blood clots. This type of follow-up care was not something typical of

ALLURE prior to the COVID-19 pandemic. The campaign was implemented by

MOK.

      C.     OTHER WITNESS STATEMENTS

             Physician-1

      96.    On April 19, 2020, PHYSICIAN-1 was interviewed by law

enforcement regarding the use of IV vitamin C infusion as it relates to COVID-19

treatment. PHYSICIAN-1 is a board certified internist that has been treating

COVID-19 patients at a local hospital system.

      97.    According to PHYSICIAN-1, vitamin C is well-absorbed orally and

there is not an advantage receiving vitamin C intravenously as opposed to orally.

There is no indication in the medical literature to suggest IV over oral is




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recommended except for a patient having difficulty taking a pill or one needing

parenteral nutrition.

      98.    PHYSICIAN-1 indicated that too much vitamin C can cause the

vitamin to turn into oxalate which can cause kidney stones. High-dose IV infusion

of vitamin C would show up in a patient’s urine and PHYSICIAN-1 once again

opined that such high levels could cause kidney stones in a patient.

      99.    According to PHYSICIAN-1, there is no indication vitamin C

shortens the length or severity of a virus including COVID-19. There is no

specific available evidence indicating vitamin C is a beneficial treatment for

COVID-19. Vitamin C is not an anti-viral medication, is not a treatment nor a

prevention for COVID-19 and will not boost the immune system to specifically

protect against COVID-19.

      100. PHYSICIAN-1 reviewed an article written by MOK titled Dosing &

Safety of High Dose Intravenous Vitamin C. At the time of the review,

PHYSICIAN-1 was provided with the article but not the identity of the author.

PHYSICIAN-1 opined the article was not consistent with sound medical practice.

PHYSICIAN-1 noted that author was utilizing IV infusion therapy of Vitamin C

even for patients whose profiles indicated that Vitamin-C would likely trigger side

effects. The author speaks of IV vitamin C infusion being a treatment for cancer



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but PHYSICIAN-1 stated that practice has been abandoned. The piece contains no

discussion of vitamin C being used as an effective treatment against viruses,

including COVID-19.

            Physician-2

      101. On April 20, 2020, PHYSICIAN-2, a vascular surgeon at a local

hospital, was interviewed by law enforcement regarding CPT code(s) 36465 and

36466. CPT code(s) 36465 and 36466 are specific to the billing of ablations

related to the truncal veins and cannot be billed when the ablation is being done to

the tributary veins.

      102. According to PHYSICIAN-2, a Varithena injection can be used to

ablate, like an ERFA, but a Varithena injection and ERFA cannot be done on the

same patient because they accomplish the same task. Once an ablation is done on

a patient there is no need for additional treatments including a Varithena injection.

      103. Most insurance companies, including Medicare, require conservative

treatment and this is the standard of care within the industry. If every patient

receives intervention treatment, PHYSICIAN-2 maintains that such a physician

would be outside the “curve” of standard medical practice.

      104. On April 22, 2020, PHYSICIAN-2 had the opportunity to review

three medical records from ALLURE patients. PHYSICIAN-2 reported as follows.



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      105. Patient SR: The patient was initially seen on or about June 24, 2019.

It appears that the patient was to have some type of free screening. However, there

was a note to the effect that the patient was billed for a duplex study and an office

visit. The patient was again seen on July 8, 2019 at which time a radiofrequency

ablation was performed of the right great saphenous vein. The patient was again

seen on July 9, 2019 at which time a radiofrequency ablation of the left great

saphenous vein was performed. I was unable to find any notes that specifically

addressed the patient’s response to these treatments. On July 18, 2019 the patient

reportedly underwent Verithena injection of an accessory saphenous vein in the

right leg. However, I was unable to verify the presence of an accessory vein on the

initial duplex study report. This was billed with the code 36466. If there was an

injection of an accessory saphenous vein, it should have been billed with 36465

which is a single truncal vein. On July 22, 2019 the patient underwent Varithena

injection of the left small saphenous vein. This again is a single trunk, but was

billed under 36466. On July 25, 2019 a venous duplex evaluation revealed no

evidence of deep vein thrombosis and ablation of both the right and left great

saphenous veins and small saphenous veins. Reportedly on the same day, the

patient underwent Varithena injection of the great saphenous vein and a saphenous

vein tributary. However, as noted according to the duplex, the great saphenous vein



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was already ablated. The patient went on to have what appear to be 6 more

Varithena injections of the right great saphenous vein. The patient also underwent

multiple Verithena injections of the left great saphenous vein. In addition, the

patient underwent multiple radiofrequency ablations of isolated perforator veins. In

most of these cases, the code for the Varithena injections used was 36466.

However, in none of these cases were two truncal veins identified as being

injected. Furthermore, even if indicated, many of these procedures could have been

combined at a single sitting. In my opinion, there is evidence of improper billing,

as well as treatment that clearly falls outside the standard of care. (emphasis

added).

      106. Patients RL and BM: PHYSICIAN-2 further opined that he saw this

same pattern of improper billing and treatment outside the standard of care in the

patient files of RL and BM.



             Registered Nurse-1 and Physician 3

      107. On April 20, 2020, REGISTERED NURSE-1 and PHYSICIAN-3

were interviewed by law enforcement regarding the use of IV vitamin C infusion

as it relates to the billing to Medicare for COVID-19 treatment. REGISTERED

NURSE-1 and PHYSICIAN-3 are employees of CoventBridge Group, which is



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responsible for detecting fraud and abuse in Medicare claims for the region

including Michigan.

      108. REGISTERED NURSE-1 indicated any claim submitted to Medicare

for a COVID-19 related treatment must contain the proper International Statistical

Classification of Diseases and Related Health Problem (ICD)-10 code for COVID-

19.

      109. REGISTERED NURSE-1 and PHYSICIAN-3 indicated that IV

vitamin C infusion must be reasonable and necessary and accepted standard of

practice for Medicare to pay any claim as it relates to COVID-19 treatment. There

are current studies ongoing with relation to the “sickest of the sick” receiving high

doses over multiple days in a critical care unit but the results are inconclusive. The

studies (and their eventual results) will not apply to the regular “walking around”

patient population. Since the studies are currently in the trial level, its treatment is

not considered standard of practice and thus would not be an approved claim by

Medicare.

      110. Additionally, Medicare does not cover preventative care as it relates

to IV vitamin C infusion therapy to prevent COVID-19 and thus would not be an

approved claim.




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                                    CONCLUSION

      111. Based on the forgoing, there is probable cause to believe that

CHARLES MOK has committed the crime of health care fraud in violation of 18

U.S.C. § 1347, and has conspired with others to commit health care fraud in

violation of 18 U.S.C § 1349.




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